COAST COUNTIES GAS AND ELECTRIC COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Coast Counties Gas &amp; Electric Co. v. CommissionerDocket No. 69843.United States Board of Tax Appeals36 B.T.A. 385; 1937 BTA LEXIS 725; July 27, 1937, Promulgated *725  In 1930 the petitioner paid premiums of $68,052.50 in the redemption of its subsidiaries' bonds, the payment of which it assumed upon the transfer to it by the subsidiaries of their properties.  Held, that the petitioner is entitled to deduct the premiums so paid.  Prior opinion in this proceeding (33 B.T.A. 1199"&gt;33 B.T.A. 1199) modified, Metropolitan Edison Co.,35 B.T.A. 1110"&gt;35 B.T.A. 1110, followed.  Granville S. Borden, Esq., for the petitioner.  George D. Brabson, Esq., for the respondent.  MORRISSUPPLEMENTAL OPINION.  MORRIS: By order dated June 14, 1937, the petitioner's motion, filed April 13, 1936, for reconsideration and revision of the opinion heretofore promulgated in this proceeding, , was granted.  Action was deferred thereon and the decision was not entered pursuant to the opinion as the Board was reconsidering, in Metropolitan Edison Co., Docket No. 57869, the principal question involved in this proceeding.  The report in that proceeding was promulgated *726  May 14, 1937, , and upon the basis thereof said motion was granted, the Board still having jurisdiction to take such action.  That opinion held, on parallel facts, that the petitioner was entitled to deduct the amount of the premiums paid in redemption of bonds issued by its subsidiaries and assumed by it in a transfer of the assets of these subsidiaries to it, and overruled the opinion in the instant proceeding on that point.  The amount of premiums paid in 1930 by this petitioner in the redemption of its subsidiaries' bonds was $68,052.50, which was disallowed as a deduction in the prior report.  Upon the authority of , it is now held that the petitioner is entitled to the claimed deduction of $68,052.50 for 1930 and the prior opinion is modified accordingly. Judgment will be entered under Rule 50.